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                        FILED UNDER SEAL PURSUANT TO COURT ORDER

                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No. 17-60426-CV-Ungaro/O’Sullivan

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

          Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

         Defendants.
   ______________________________________/

         NON-PARTY DAVID J. KRAMER’S SEALED POSITION STATEMENT
     IN ACCORDANCE WITH THE COURT’S ORDER REGARDING PROCEDURE
    FOR NOTIFYING IDENTIFIED NON-PARTIES ABOUT POTENTIAL UNSEALING
                                [DE 384]

          On December 28, 2018, Mr. Kramer received the attached notice (Ex. A) regarding

   potential unsealing of confidential documents noted therein. Only Plaintiffs, who claim this Court

   does not have jurisdiction over the New York Times’ pending motion to unseal, consent to

   unsealing the noted excerpts of Mr. Kramer’s deposition and his related declaration. This is

   consistent with their unsuccessful opposition to Mr. Kramer’s sealed motion for protective order

   [DE 130 *SEALED*] (the “Sealed Motion”). Magistrate Judge O’Sullivan granted Mr. Kramer’s

   Sealed Motion on February 23, 2018. [DE 144 *SEALED*] (the “Sealed Order”), a copy of which

   order is attached as Exhibit “B.”

          For the reasons set forth in the Sealed Motion and the Court’s Sealed Order, Mr. Kramer

   respectfully requests that the Court not unseal and keep as confidential the noted excerpts of Mr.

   Kramer’s deposition and his related declaration. Neither the passing of time nor any other post-
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   Sealed Order event has affected the threat to Mr. Kramer’s personal safety posed by the public

   release of his testimony.

            For the foregoing reasons, Mr. Kramer respectfully requests that this Court maintain the

   confidentiality of Mr. Kramer’s deposition and declaration in accordance with this Court’s Sealed

   Order.

  Dated: January 11, 2019                      Respectfully submitted,
                                                  Marcos Daniel Jiménez
                                                  Marcos Daniel Jiménez
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                                                  Email: mdj@mdjlegal.com




                                    CERTIFICATE OF SERVICE

            I hereby certify that a true copy of the foregoing was served by e-mail on this 11th day of

   January, 2019, on counsel listed through CM/ECF.

                                                   Marcos Daniel Jiménez
                                                   Marcos Daniel Jiménez
